                           IN THE UNITED STATES DISTRICT COURT FOR THE
                                 NORTHERN DISTRICT OF OKLAHOMA

CYPRUS AMAX MINERALS COMPANY,                                  :
                                                               :       Case No. 11-CV-252-JED-PJC
                                      Plaintiff,               :
                      v.                                       :
                                                               :
TCI PACIFIC COMMUNICATIONS, INC. and                           :
CBS OPERATIONS, INC.                                           :
                                                               :
                                      Defendants.              :

                                           AMENDED COMPLAINT

              Plaintiff Cyprus Amax Minerals Company (“Cyprus Amax”) brings this Amended

Complaint1 and asserts the following claims against Defendants CBS Operations, Inc. (“CBS

Ops.”) and TCI Pacific Communications, Inc. (“TCI”) (CBS Ops. and TCI are hereinafter

collectively referred to as “Defendants”), alleging as follows:

I.            NATURE OF THE CASE

                      1.      This matter arises from the discovery of alleged releases of hazardous

     substances into the environment (i.e., environmental contamination) in the City of Collinsville,

     Oklahoma and surrounding areas, which are alleged to be attributable to the historical

     operations of two former zinc smelting facilities located a short distance south of Collinsville.

     Cyprus Amax is the alleged successor to the corporate parent of a company that operated one

     of the former smelting facilities and is cooperating with state and federal authorities to

     investigate and remediate the alleged environmental contamination. Cyprus Amax has

     incurred, and will continue to incur, substantial response costs in doing so. Defendants are the

     successors to and/or the indemnitors of the successors to the liabilities of the corporate parent


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              This Amended Complaint is timely filed within the Court’s deadline to amend pleadings. [Scheduling
              Order, Docket No. 86].



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   that dominated and controlled, and was the “alter ego” of, and/or managed, directed and

   conducted the operations of, the other former smelting facility and the entity that purportedly

   owned and/or operated it. Defendants are accordingly liable for the costs of investigating and

   remediating the environmental contamination. Unlike Cyprus Amax, however, Defendants

   have refused and failed to participate to any extent in the investigation or remediation of the

   environmental contamination. Cyprus Amax brings this action against Defendants pursuant to

   Comprehensive Environmental Response, Compensation and Liability Act, 42 U.S.C. § 9601

   et seq. (“CERCLA”) and Oklahoma law to (a) recover the response costs it has incurred and

   will incur in the cleanup of the alleged environmental contamination in Collinsville and (b)

   obtain a declaratory judgment that Defendants are responsible for contribution and/or

   reimbursement of future response costs to be incurred by Cyprus Amax.

II.           PARTIES

                    2.   Cyprus Amax is a corporation organized and existing under the laws of the

   State of Delaware with its principal place of business located at 333 North Central Avenue in

   Phoenix, Arizona.

                    3.   Defendant CBS Ops. is a corporation organized and existing under the

   laws of the State of Delaware with its principal place of business located at 51 West 52nd

   Street in New York, New York.

                    4.   Defendant TCI is a corporation organized and existing under the laws of

   the State of Delaware. On information and belief, TCI’s principal place of business is located

   in Colorado.

III.          JURISDICTION AND VENUE

                    5.   This Court has jurisdiction over the present matter pursuant to 28 U.S.C.

   § 1331, which provides for original jurisdiction of the federal district courts in any civil action


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   arising under the Constitution, laws or treaties of the United States, and pursuant to 28 U.S.C.

   § 1367(a), which provides for supplemental jurisdiction over state law claims that are so

   related to the federal law claims in the action that they form part of the same case or

   controversy under Article III of the United States Constitution.

                    6.   Venue is proper in this District pursuant to 42 U.S.C. § 9613(b) and 28

   U.S.C. § 1391(b) because a substantial part of the events, acts and/or omissions giving rise to

   the claims stated herein, including releases of hazardous substances, occurred in this District.

                    7.   Personal jurisdiction is properly exercised over Defendants in that

   Defendants are the successors to and/or the indemnitors of the successors to the entities that

   engaged in acts and omissions within Oklahoma that have caused injury and damage to Cyprus

   Amax within and outside of Oklahoma, and because Defendants have deliberately engaged in

   regular business activities in Oklahoma constituting continuous and systematic contacts with

   the State.

IV.           FACTUAL ALLEGATIONS

                                    Overview of Former Zinc Smelters

                    8.   The City of Collinsville, Oklahoma is situated in Tulsa and Rogers

   Counties, approximately 20 miles north of Tulsa in northeast Oklahoma.

                    9.   Two former zinc smelting facilities are located approximately one mile

   south of Collinsville. These two former zinc smelting facilities are known as the Tulsa Fuel

   and Manufacturing Zinc Smelter and the Bartlesville Zinc Smelter (hereinafter the “TFM

   Smelter” and the “BZ Smelter” respectively). Both the TFM Smelter and the BZ Smelter used

   horizontal retort furnaces to distill zinc ore into slab zinc, which was in high demand in the

   early 1900s.




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                    10.   The TFM Smelter was located on an approximately 61-acre site

   approximately one and one third (1 1/3) miles south of downtown Collinsville (“the TFM

   Smelter Site”).

                    11.   Between 1911 and 1925, the TFM Smelter was nominally owned and/or

   operated by the Tulsa Fuel and Manufacturing Company (“TFMC”), a corporation organized

   under the laws of the State of Kansas in 1906.

                    12.   At all relevant times, TFMC was dominated and controlled by, was

   operated for the benefit of, and was the “alter ego” of, the New Jersey Zinc Company (“NJ

   Zinc”), a corporation organized under the laws of the State of New Jersey. As a result of this

   domination and control of TFMC, NJ Zinc was the “alter ego” of TFMC, and as such, is liable

   for all liabilities of TFMC.

                    13.   Also at all relevant times, NJ Zinc directly participated in, managed,

   controlled and directed the workings of and conducted the operations of the TFM Smelter, and

   as such, is liable for all liabilities arising from the operations of the TFM Smelter.

                    14.   Defendants are the indemnitors of the corporate successors and/or the

   corporate successors to NJ Zinc, and as such, are liable for all liabilities of NJ Zinc, including

   the liabilities of TFMC.

                    15.   In particular, Defendant TCI is a successor to NJ Zinc and CBS Ops. is

   contractually obligated to indemnify, hold harmless and defend Defendant TCI for and against

   the liabilities of NJ Zinc. In addition to this unlimited and unqualified indemnification

   obligation, Defendant CBS Ops. may, upon information and belief, also have contractually

   assumed certain liabilities of NJ Zinc from Defendant TCI.




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                    16.   Between 1911 and 1918, the Bartlesville Zinc Company (“BZ Company”)

   owned and operated the BZ Smelter, located on an approximately 40-acre portion of a 220-acre

   property then owned by BZ Company, approximately one-quarter (1/4) of a mile from the

   TFM Smelter Site (“the BZ Smelter Site”).

                    17.   BZ Company was allegedly formerly owned by American Metal

   Company, Ltd. Cyprus Amax is the alleged successor to American Metal Company, Ltd.

                              Overview of Environmental Conditions
                          and Remediation of the Smelters and Collinsville

                    18.   Starting in or about 1992, the Oklahoma Department of Environmental

   Quality (“ODEQ”) and the United States Environmental Protection Agency (“USEPA”)

   undertook investigations of environmental conditions at the TFM Smelter Site and BZ Smelter

   Site. According to ODEQ and USEPA, these investigations revealed high concentrations of

   metals, including zinc, cadmium, lead and arsenic, at these Sites.

                    19.   Cyprus Amax is currently investigating the environmental contamination

   at the BZ Smelter Site pursuant to the terms of a Consent Agreement and Final Order entered

   by and between ODEQ and Cyprus Amax in May 1996.

                    20.   By contrast, despite demands and requests by USEPA and ODEQ,

   Defendants have refused to participate in any investigation or remediation of the TFM Smelter

   Site, and ODEQ and USEPA are currently addressing the environmental contamination at the

   TFM Smelter Site without any participation from the Defendants.

                    21.   As part of the investigation of the TFM Smelter Site, ODEQ and USEPA

   additionally investigated environmental conditions in residential, commercial and public areas

   of the City of Collinsville (the “Collinsville Town Site”). According to ODEQ and USEPA,




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   the investigations revealed the presence of metals in soils at concentrations higher than would

   typically be found in such areas.

                    22.   According to ODEQ and USEPA, some or all of the elevated metals

   concentrations detected at the Collinsville Town Site are attributable, at least in part, to the

   operations of the former TFM Smelter as a result of the disposal of hazardous substances via

   (a) air emissions from such operations and (b) the historical utilization of smelter wastes by

   Collinsville residents for yard fill or construction purposes.

                    23.   To address the environmental contamination detected at the Collinsville

   Town Site, ODEQ and USEPA determined that a comprehensive soil sampling and

   remediation program for the Collinsville Town Site was necessary (the “Collinsville Soil

   Program”).

                    24.   ODEQ and/or USEPA requested that Cyprus Amax, as the alleged

   successor to the American Metal Company, Ltd. (the former parent company of BZ Company),

   perform the work required by the Collinsville Soil Program.

                    25.   Cyprus Amax agreed to cooperate with ODEQ and USEPA and perform

   the Collinsville Soil Program, pursuant to a 2009 Consent Decree entered by and between

   ODEQ and Cyprus Amax.

                    26.   By contrast, the Defendants have refused to participate in any

   investigation or remediation activities at the Collinsville Town Site, notwithstanding that they

   are the successors to and/or the indemnitors of the successors to NJ Zinc, which dominated and

   controlled the operations of TFMC and was the “alter ego” of TFMC, and/or which directly

   participated in, managed, controlled and directed the workings of and conducted the operations

   of the TFM Smelter.




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                    NJ Zinc Dominated and Controlled the Operations of TFMC and Managed,
                           Directed and Conducted the Operations of the TFM Smelter

                      27.    The TFM Smelter was nominally owned and operated by TFMC, which

   also owned the TFM Smelter Site.

                      28.    Upon information and belief, at all relevant times, TFMC was a subsidiary

   of NJ Zinc or a “dummy” or “sham” corporation and was dominated and controlled by, and for

   the benefit and as a mere instrumentality of, NJ Zinc, such that each entity is the “alter ego” of

   the other and the two should be treated as a single legal entity.

                      29.    On information and belief, as of 1912, TFMC’s stock purportedly was

   owned by seven individuals including one or more officers and/or directors of NJ Zinc. At

   times relevant hereto, these individuals and/or the subsequent owners of TFMC held this stock

   solely for the benefit of NJ Zinc and caused TFMC to be dominated and controlled by, and

   operated as a mere instrumentality and for the benefit of, NJ Zinc, such that TFMC was the

   “alter ego” of NJ Zinc.

                      30.    At times relevant hereto, NJ Zinc treated and referred to TFMC as a direct

   or indirect subsidiary of NJ Zinc, and/or NJ Zinc held itself out as and was recognized as the

   owner of TFMC and the TFM Smelter, as evidenced by contemporaneous NJ Zinc corporate

   records and publications, by contemporaneous public records and industry publications, and by

   representations by NJ Zinc to government bodies.

                        a)   In the July 1919 issue of Zinc, a monthly magazine published by NJ Zinc

                             for employees of the company and its subsidiaries, NJ Zinc specifically

                             listed “The Tulsa Fuel and Manufacturing Company” at Collinsville,

                             Oklahoma as one of its “subsidiary companies” in an article titled

                             “Properties of the New Jersey Zinc Company.”



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                    b)   A 1912 annual report of the United States Department of the Interior,

                         United States Geological Survey, entitled “Mineral Resources of the

                         United States,” identified TFMC as “a subsidiary of Prime Western

                         Spelter Co.” Prime Western Spelter Co. was acquired by NJ Zinc in 1902.

                         In the 1919 article noted above, NJ Zinc also listed Prime Western Spelter

                         Co. as one of its subsidiaries.

                    c)   In 1925, a publication known as “Moody’s Analyses of Investments,”

                         identified “The Tulsa Fuel & Manufacturing Co.” as a subsidiary of NJ

                         Zinc.

                    d)   In 1915, a publication known as “Mining and Scientific Press” stated that

                         NJ Zinc “owns and controls the . . . smelter [of] Tulsa Fuel &

                         Manufacturing Co., Collinsville, Oklahoma” and also that NJ Zinc “owns

                         a controlling interest in all of its smelters,” including TFMC.

                    e)   In December 31, 1916 NJ Zinc financial ledgers submitted by NJ Zinc to

                         the Federal Trade Commission (“FTC”) in connection with the FTC’s

                         investigation of NJ Zinc’s spelter costs, NJ Zinc identified TFMC in a list

                         of subsidiary companies in which it “Own[ed] Bonds or Stock In,” in the

                         amount of $50,000, which was the full amount of TFMC’s capitalization.

                    f)   In a September 1918 General Affidavit prepared by or on behalf of Edgar

                         Palmer, President of NJ Zinc, “The Tulsa Fuel & Manufacturing

                         Company” was identified as a subsidiary of NJ Zinc; the General Affidavit

                         further stated that “[a]s the owner of the stock of its subsidiary companies




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                          [NJ Zinc] controls their operation, the purchase of all materials and the

                          sale of all products.”

                     g)   In 1923, in a formal proceeding before the Interstate Commerce

                          Commission (“ICC”) captioned The Tulsa Fuel & Manufacturing

                          Company v. Director General, as Agent, The Atchison Topeka & Santa Fe

                          Railway Company, et al., Docket No. 13739, two representatives of NJ

                          Zinc testified regarding the relationship between NJ Zinc and TFMC, and

                          stated under oath to the ICC that “the Tulsa Fuel & Manufacturing

                          Company is a subsidiary of the New Jersey Zinc Company,” and also that

                          the “entire capital stock [of TFMC] is owned by the New Jersey Zinc

                          Company.”

                     h)   Upon the dissolution of TFMC in 1926, a Statement of NJ Zinc for the

                          Quarter ended December 31, 1926 stated that NJ Zinc received as income

                          in that quarter a “Dividend from the Tulsa Fuel & Mfg. Co. In Process of

                          Liquidation” in the amount of $500,000.

                    31.   During operation of the TFM Smelter from 1911 through 1925, NJ Zinc

   dominated and exercised pervasive control over all of the business operations and decisions of

   TFMC and the TFM Smelter and of its other subsidiaries and/or the affiliates and/or dummy or

   sham corporations that it referred to as “subsidiaries” (including TFMC) as evidenced by

   contemporaneous NJ Zinc corporate records and publications, by contemporaneous public

   records and industry publications, and by representations by NJ Zinc to government bodies.

                    32.   By way of example, in testimony to the ICC in 1923, the General Traffic

   Manager of NJ Zinc and its subsidiary companies stated under oath that “[NJ Zinc] owns all




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   the capital stock of its subsidiary companies . . . about 12 in number, and possesses,

   consequent to that absolute ownership, complete control of all the affairs of its subsidiaries . . .

   and in fact and in actual practice does exercise such complete control in the general conduct

   of its and their business, and it acts as agent for and in behalf of its subsidiaries.”

                    33.   This NJ Zinc representative further testified that “[t]he lines of authority

   of [NJ Zinc’s] personnel extend to all companies, so that its executives and their staff members

   function without regard to corporate lines of division. That is to say, for instance, the general

   purchasing agent for [NJ Zinc] functions in the same capacity for all the subsidiary companies,

   including [TFMC]. The same thing is true of the comptroller, the treasurer, the general

   manager of the ore and fuel department, and including the general traffic manager they also

   occupy the same offices in the subsidiaries.”

                    34.   This NJ Zinc representative also testified that NJ Zinc “in fact and in

   constant practice manages and directs the operations of its subsidiary companies, including

   [TFMC], without regard to corporate lines of separation, and constantly exercises its authority

   to act for and in behalf of its subsidiaries in any and all matters.”

                    35.   Further, in February 1920 organizational charts that were used as exhibits

   in the ICC proceeding, TFMC was identified as one of several smelter operations within the

   “Manufacturing Department” of NJ Zinc. These charts show that TFMC and NJ Zinc had the

   same president, vice-presidents, general counsel, comptroller, treasurer, general sales manager,

   general manager of ore and fuels and general purchasing agent.

                    36.   In the July 1919 issue of Zinc, NJ Zinc admitted that operations of NJ Zinc

   and the entities (including TFMC) that it called its “subsidiaries” were so “interwoven” as to be

   largely “interdependent” in declaring that “[t]o detail the various steps necessary to turn out a




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   commercial product and to point out the complicated interrelation of the plants and mines

   would make a long story; suffice it to say that the operations of the parent Company and those

   of its subsidiaries are so interwoven that they are to a large extent inter-dependent.”

                    37.   In the November 1918 issue of Zinc, in an article titled “Plan of

   Organization of the New Jersey Zinc Company,” NJ Zinc stated that “[t]he New Jersey Zinc

   Company is the parent company and its lines of organization and routines carry through all the

   subsidiaries. The reasons for the existence of those subsidiaries will be found in the various

   State laws governing corporations. I want to impress upon you that there is no subterfuge here

   – we are not hiding behind some other name with ulterior motives.” This article further stated,

   using the example of a NJ Zinc subsidiary operating certain plants in Pennsylvania, that the

   subsidiary of NJ Zinc “does not make any money, but turns its product over to the parent

   company [NJ Zinc] at cost. And so will be found a similar reason wherever we operate under

   another name than that of The New Jersey Zinc Company.” On information and belief, as

   described in the foregoing article, TFMC similarly provided its product to NJ Zinc at cost and

   did not deal with any entity other than NJ Zinc or others of its subsidiaries, affiliates or

   instrumentalities.

                    38.   Additionally, at all relevant times, NJ Zinc treated and referred to the TFM

   Smelter as its own “operation” and its own “plant.” A February 1919 issue of Zinc described

   mining operations of NJ Zinc in Mexico as supplying ores to NJ Zinc plants in the United

   States including the TFM Smelter, which NJ Zinc referred to in the article as “our Collinsville

   plant.” Similarly, an article in the April 1916 issue of Zinc noted an inspection of “the

   Collinsville plant” by NJ Zinc personnel.




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                    39.   NJ Zinc exercised pervasive control over all facets of the smelting

   operations (including TFMC’s smelting operations) that it referred to as “its operations” or “its

   plants.” This pervasive control included (a) management of raw materials and fuel supplies,

   (b) waste handling, plant inspections, production rates and volumes, and (c) maintenance, shut-

   down and repair functions as evidenced by contemporaneous NJ Zinc business records and

   publications, by contemporaneous public records and industry publications, and by

   representations by NJ Zinc to government bodies.

                    40.   NJ Zinc’s Ore and Fuel Department, located in its corporate offices in

   Chicago, Illinois, was responsible for procurement of supplies of mined ore and fuels for

   smelter operations that NJ Zinc treated and referred to as its “operations” or “plants,” including

   the TFM Smelter. An article in the November 1918 issue of Zinc described a J.H. Janeway as

   NJ Zinc’s General Manager of Ore and Fuel in Chicago, “having charge of all ores and fuels

   for the company operations.” The Chicago office was similarly responsible for “all

   operations” pertaining to gas supply for each of NJ Zinc’s plants. As explained in a July 1919

   issue of Zinc, each NJ Zinc plant had a Gas department, “which is under the supervision of the

   Ore and Fuel department,” in NJ Zinc’s Chicago office, which “has charge of all operations

   pertaining to the gas supply for these plants.”

                    41.   Moreover, in a January 1918 letter to the United States War Industries

   Board, Council of National Defense, NJ Zinc President Edgar Palmer requested that the Board

   reconsider its denial of an application by a Mexican zinc mine for additional dynamite. Palmer

   explained that “[i]t will be necessary for us to shut down a large portion of our [TFMC] plant

   operating at Collinsville, Oklahoma, unless we receive this ore. Such a shut down would cause

   a serious curtailment of our total output, which we fear would operate against the interest of




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   the government, inasmuch as we have contracts with the Navy Department for furnishing

   spelter.”

                    42.   Corporate officers of NJ Zinc and General Managers of NJ Zinc’s

   Manufacturing and Ore and Fuel Departments visited the TFM Smelter to conduct inspections.

   An article in the April 1916 issue of Zinc noted an inspection of “the Collinsville plant” [i.e.,

   the TFM Smelter] by NJ Zinc personnel including NJ Zinc “vice president and general

   manager” J.E. Hayes, Jr. Further, the September 1916 issue of Zinc noted a visit by a W.L.

   Coursen, the General Manager of NJ Zinc’s Manufacturing Department, to inspect the TFM

   Smelter. Likewise, the September 1917 issue of Zinc noted a visit to the TFM Smelter by NJ

   Zinc management personnel including J. H. Janeway, the General Manager of the Ore and Fuel

   Department. The August 1919 and December 1919 issues of Zinc also noted visits to the TFM

   Smelter by NJ Zinc management personnel out of the corporate offices in New York and

   Chicago.

                    43.   Management personnel from NJ Zinc’s corporate office in Chicago,

   Illinois also supervised production and maintenance at the smelter operations that NJ Zinc

   treated and referred to as its “plants”, including the TFM Smelter. In the July 1919 issue of

   Zinc, NJ Zinc stated that “the general office of this Company at Chicago supervises the

   maintenance and coordination of the plants for adjustment of their output according to the ores

   available from the mines and according to the orders that must be filled.” Moreover, in the

   Minutes of a “Special Operating Department Conference” held in NJ Zinc’s corporate offices

   in New York in October 1920 and published in the December 1920 issue of Zinc, NJ Zinc Vice

   President J.E. Hayes, Jr. articulated NJ Zinc’s policy for maintenance of smelter equipment by




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   NJ Zinc’s subsidiaries and/or affiliates and/or dummy or sham corporations that it referred to

   as its “subsidiaries” (such as TFMC).

                    44.   As a further indication of its pervasive domination and control of its

   subsidiaries and/or the affiliates and/or dummy or sham corporations that it referred to as its

   “subsidiaries” (including TFMC), NJ Zinc dominated and controlled the amount of pension

   contributions to be made by each of the entities (including TFMC) that it treated or referred to

   as “subsidiaries.” In a “Report of the New Jersey Zinc Pension Department” dated January 18,

   1912, the NJ Zinc “Pension Board” in New York directed a “call for contributions to the

   Pension Fund by the Associated Companies . . . on account of expenses of administration and

   necessary outlay for pension allowances” anticipated in the first six months of 1912. This

   Report specifically directed contributions in certain proportions “under the Pension

   Agreement” from each of the subsidiaries, affiliates, and/or dummy or sham corporations of NJ

   Zinc referred to as its “subsidiaries,” including TFMC.

                    45.   Similar contributions to the NJ Zinc Pension Fund were directed by the NJ

   Zinc “Pension Board” to be made by each of NJ Zinc’s subsidiaries and/or affiliates and/or

   dummy or sham corporations that NJ Zinc referred to as its “subsidiaries” (including TFMC)

   as reflected in “Reports of the New Jersey Zinc Pension Department” from January 1, 1919

   through January 1, 1926.

                    46.   As a result of the pervasive domination and control of the operation of

   TFMC by and for the benefit and as a mere instrumentality of NJ Zinc, the two entities are

   legally the “alter ego” of one another and the two corporations should be treated as a single

   legal entity, such that NJ Zinc is liable for the liabilities of TFMC, including all liabilities




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   arising from environmental contamination of the TFM Smelter Site and the Collinsville Town

   Site (the “TFM Smelter Environmental Liabilities”).

                    47.   Under these circumstances, the corporate form of TFMC was utilized by

   NJ Zinc to promote injustice and/or fraud. As one example, as set forth in the Statement of NJ

   Zinc for the Quarter ended December 31, 1926, NJ Zinc received as income in that quarter a

   “Dividend from the Tulsa Fuel & Mfg. Co. In Process of Liquidation” in the amount of

   $500,000. If NJ Zinc did not own any stock in TFMC, as alleged by Defendants, then receipt

   of this dividend by NJ Zinc, and not by any purported individual owners of the stock of TFMC,

   constituted an injustice and/or fraud arising from recognition of TFMC as an entity in form, but

   not in substance, distinct from NJ Zinc.

                    48.   Treating TFMC as if it existed as a corporate entity separate and distinct

   from NJ Zinc, when in fact, and by NJ Zinc’s own representations and admissions to

   government agencies and otherwise, it had no such separate existence, would further result in

   the infliction of injustice and/or fraud on Cyprus Amax if Defendants, as the successors to

   and/or indemnitors of the successors to the liabilities of NJ Zinc, were permitted to evade their

   responsibilities for the TFM Smelter Environmental Liabilities as a result of this corporate

   shell game.

                    49.   TFMC was dissolved in 1926.

                    50.   Notwithstanding the 1926 dissolution of TFMC, NJ Zinc and its

   successors have been and continue to be liable for the liabilities of TFMC arising out of the

   activities occurring prior to the 1926 dissolution when NJ Zinc dominated and controlled

   TFMC, and managed, directed and conducted the operations of the TFM Smelter, including the

   TFM Smelter Environmental Liabilities.




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        Defendants are the Successors and/or the Indemnitors to the Successors of NJ Zinc

                    51.   Defendants are the successors to and/or the indemnitors of the successors

   to the liabilities of NJ Zinc (and therefore of its alter ego TFMC) as a result of a series of

   corporate mergers.

                    52.   On February 25, 1966, NJ Zinc merged with Gulf & Western Industries,

   Inc., a Michigan corporation (“Gulf & Western Michigan”). As a result of this merger, Gulf &

   Western Michigan succeeded to the liabilities of NJ Zinc. On May 9, 1967, Gulf & Western

   Michigan merged into Gulf & Western Industries, Inc., a Delaware corporation (“Gulf &

   Western Delaware”). As a result of this merger, Gulf & Western Delaware succeeded to the

   liabilities of NJ Zinc. On May 1, 1986, Gulf & Western Delaware merged into Gulf +

   Western, Inc, a Delaware corporation, with the surviving corporation being Gulf + Western,

   Inc. As a result of this merger, Gulf + Western, Inc. succeeded to the liabilities of NJ Zinc. On

   or about June 2, 1989, Gulf + Western, Inc. changed its name to Paramount Communications,

   Inc. Paramount Communications, Inc. retained the liabilities of NJ Zinc.

                    53.   On July 7, 1994, Paramount Communications, Inc. merged with Viacom

   Sub., Inc., a wholly-owned subsidiary of Viacom, Inc., with the surviving corporation being

   Paramount Communications, Inc. Paramount Communications, Inc. retained the liabilities of

   NJ Zinc.

                    54.   On January 3, 1995, Paramount Communications, Inc. merged into

   Viacom International, Inc. On information and belief, subsequent to the merger in or about

   July, 1995, Viacom International, Inc.’s parent company, Viacom, Inc., sold Viacom

   International, Inc., the name of which was subsequently changed to TCI. On information and




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   belief, TCI is a corporate successor to Paramount Communications, Inc. On information and

   belief, CBS Op. has an indemnification obligation to TCI with respect to liabilities of NJ Zinc.

                    55.   On information and belief, in 1995, Viacom International Services, Inc.

   was incorporated and then changed its name to Viacom International, Inc. (“Viacom

   International II”). On information and belief, Viacom International II succeeded to certain

   liabilities of Paramount Communications, Inc. and Gulf & Western Industries, Inc. and has an

   indemnification obligation to TCI covering the liabilities of NJ Zinc.

                    56.   In May 2000, Viacom, Inc. merged with CBS Corporation. The resulting

   company was known as Viacom, Inc. Following the merger, Viacom International II remained

   a subsidiary of Viacom, Inc.

                    57.   In January 2006, Viacom, Inc. split into two companies. The existing

   company (then known as Viacom, Inc.) changed its name to CBS Corporation, while the

   newly-formed spin-off company took the name Viacom, Inc. Viacom International II changed

   its name to CBS Operations, Inc. (now Defendant CBS Ops.). On information and belief,

   Viacom, CBS Corporation and CBS Ops. agreed to various indemnification obligations among

   and between themselves with respect to the liabilities of NJ Zinc.

                    58.   As a result of the foregoing transactions, Defendants are the successors to

   and/or the indemnitors to the successors to the liabilities of NJ Zinc (the former parent

   company, dominant corporate affiliate, and/or alter ego of TFMC).

                    59.   Specifically, Defendant TCI is the successor to NJ Zinc and CBS Ops. is

   contractually obligated to indemnify, hold harmless and defend Defendant TCI for and against

   the liabilities of NJ Zinc. In addition to this unlimited and unqualified indemnification




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   obligation, Defendant CBS Ops. may, upon information and belief, also have contractually

   assumed certain liabilities of NJ Zinc from Defendant TCI.

                                          TFM Smelter Site

                    60.   The TFM Smelter is an abandoned zinc smelter and lead roaster that

   operated from 1914 through 1925.

                    61.   Starting in 1992, ODEQ began to investigate environmental conditions at

   the TFM Smelter Site. In a Preliminary Assessment of the TFM Smelter Site, ODEQ

   determined that (a) groundwater contamination may exist because of large amounts of on-site

   smelter waste and residue and the unknown depth of the waste; (b) surface water

   contamination may exist because of the high potential for onsite and offsite runoff; (c) onsite

   soil contamination appeared widespread, with human exposure to contaminated soil occurring;

   (d) suspended particles may have been deposited in areas surrounding the site because site

   smelting operations occurred at a time when air emissions standards did not exist; and (e)

   onsite waste was evident on the ground surface at the site.

                    62.   Thereafter, in September 1994, ODEQ conducted a Site Inspection that

   detected high concentrations of metals, including arsenic, cadmium, lead and zinc in soils,

   sediment and surface water samples collected on the TFM Smelter Site.

                    63.   Based on the results of these site inspections, the TFM Smelter Site

   received a Hazardous Ranking Score (“HRS”) of 50.

                    64.   The TFM Smelter Site was proposed for listing on the National Priorities

   List (“NPL”) in September 1998 and was listed on the NPL on January 19, 1999 as the “Tulsa

   Fuel & Manufacturing Superfund Site.”

                    65.   In May 1999, USEPA completed a Removal Assessment Report, which

   concluded that an estimated 29,588 cubic yards of waste existed at the TFM Smelter Site, and


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   that the total surface area of the site impacted by lead concentrations exceeding 500 parts per

   million (ppm) was 41.3 acres.

                    66.   In July 2000, USEPA issued a Special Notice Letter to Defendant CBS

   Ops. notifying it of alleged CERCLA liability for contamination at the TFM Smelter Site as the

   successor in interest to NJ Zinc.

                    67.   By letter dated March 25, 2001, Defendant CBS Ops. denied that NJ Zinc

   was the parent corporation of TFMC and refused to cooperate in any remediation of

   environmental contamination at the TFM Smelter Site.

                    68.   ODEQ and USEPA negotiated a Cooperative Agreement under which

   ODEQ was designated as lead agency for the Remedial Investigation and Feasibility Study

   (“RI/FS”) for the TFM Smelter Site, with USEPA as the supporting agency. ODEQ and

   USEPA have been and are continuing to undertake activities to address contamination at the

   TFM Smelter Site and surrounding areas.

                    69.   From 2005 through 2007, ODEQ’s contractor performed the RI/FS at the

   TFM Smelter Site. According to the RI Report, onsite and offsite surface and subsurface soils,

   sediments, surface water, groundwater and vegetation have been impacted by arsenic,

   cadmium and lead contamination from the TFM Smelter.

                    70.   The RI Report identified offsite contamination as a concern due to the

   potential for human exposure to metals in surface soils. According to the RI Report, offsite

   contamination may have resulted from (a) dispersion of metals through the air by emissions

   from stacks and furnaces during smelting operations, and/or (b) removal of onsite wastes to

   offsite locations for use as yard fill, gravel for construction purposes, including driveways and

   roads, and gardening material.




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                    71.    In November 2008, USEPA issued the Record of Decision (“ROD”) for

   the TFM Smelter Site. The selected remedy is a comprehensive approach involving sampling

   and on-site consolidation and capping of approximately 200,000 cubic yards of waste material

   on and in soils, sediments and surface water at the site, and excavation, stabilization and

   disposal of approximately 1,600 cubic yards of offsite waste material in soils and sediments.

                                          The BZ Smelter Site

                    72.    The BZ Smelter commenced operations in or about 1911, on

   approximately 40 acres of the 220-acre property then owned by BZ Company.

                    73.    By June 1918, operations at the BZ Smelter had ceased and the facility

   was dismantled. BZ Company formally withdrew from doing business in the State of

   Oklahoma in 1930.

                    74.    Cyprus Amax voluntarily entered into a May 28, 1996 Consent Agreement

   and Final Order (“CAFO”) with ODEQ, and pursuant to the terms of the CAFO, Cyprus Amax

   has performed a Focused RI/FS at the BZ Smelter Site, and is presently cooperating with

   ODEQ in selecting a remedy for the Site.

                    75.    According to ODEQ’s Findings of Fact in the CAFO, TFMC and its

   successors in interest may be potentially responsible for remediation on or near the former BZ

   Smelter Site.

                          The Collinsville Town Site and the Collinsville Soil Program

                    76.    As part of the investigation of the TFM Smelter Site, ODEQ and USEPA

   investigated environmental conditions in residential, commercial and public areas of the

   Collinsville Town Site. This investigation included soil sampling of approximately 200

   residential properties in the City of Collinsville.




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                    77.   According to ODEQ and USEPA, sampling results indicated that

   approximately 5% of the approximately 200 residential properties sampled contained soils with

   concentrations of lead, arsenic and/or cadmium above the remediation standards developed for

   the Collinsville Town Site, with no discernible pattern in the property locations where the

   elevated metals concentrations were found.

                    78.   According to ODEQ and USEPA, historical operations of the TFM

   Smelter caused the elevated metals concentrations found at the Collinsville Town Site, as a

   result of dispersion of metals through the air by emissions from stacks and furnaces during

   smelting operations at the TFM Smelter, and the removal of onsite wastes to offsite locations

   for use as yard fill, gravel for construction purposes, including driveways and roads, and

   gardening material.

                    79.   ODEQ and USEPA determined that a comprehensive soil sampling and

   remediation program for the Collinsville Town Site was necessary.

                    80.   This program, known as the Collinsville Soil Program or CSP, offers soil

   sampling to all property owners within the Collinsville Town Site for laboratory analysis and

   comparison to the soil remediation standards for lead, arsenic and cadmium. Any property

   areas containing metals concentrations exceeding remediation standards are being remediated

   by excavation of impacted soils, replacement with clean soil, and restoration of vegetation.

   Large pieces of smelter debris are also removed from properties where found.

                     The Performance of the Collinsville Soil Program by Cyprus Amax

                    81.   ODEQ and/or USEPA requested that Cyprus Amax perform the work

   associated with the CSP, as the alleged successor to the former parent company of BZ

   Company.




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                    82.   Defendants refused to participate in the remediation of the Collinsville

   Town Site or the CSP.

                    83.   Cyprus Amax entered into negotiations with ODEQ for the remediation of

   the Collinsville Town Site and performance of the CSP. These negotiations culminated with

   ODEQ simultaneously lodging a complaint against Cyprus Amax, and a proposed consent

   decree between ODEQ and Cyprus Amax, with this Court on May 28, 2009. The proposed

   consent decree was entered on July 21, 2009 (hereinafter, the “Consent Decree”). Pursuant to

   the terms of the Consent Decree, Cyprus Amax agreed to undertake comprehensive and costly

   response actions at the Collinsville Town Site, including preparation of a Remedial Action

   Work Plan, a Quality Assurance Project Plan, a Soil Sampling and Analysis Plan and a Health

   and Safety Plan for implementation of the CSP.

                    84.   In connection with these response actions, Cyprus Amax has incurred and

   will continue to incur cleanup and response costs, including reimbursement to ODEQ for

   investigative and response costs.

                    85.   Under the terms of the Consent Decree, Cyprus Amax has retained the

   right to sue or seek appropriate relief from any responsible person that was not a party to the

   Consent Decree and is liable for the contamination at issue.

                    86.   Defendants, through the former smelter operations at the TFM Smelter,

   are responsible and liable persons for the contamination of the Collinsville Town Site by

   hazardous substances.

                    87.   None of the Defendants was a party to the Consent Decree, nor have the

   Defendants resolved their liability for the contamination at the Collinsville Town Site.




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                       88.   Cyprus Amax therefore brings claims against Defendants pursuant to

   CERCLA and Oklahoma law, seeking: (a) a declaration that Defendants are responsible for the

   costs of investigation, monitoring, reporting, cleanup, removal, response, and remediation of

   hazardous substances including, but not limited to, lead, cadmium, zinc and arsenic

   contaminating the Collinsville Town Site; (b) cost recovery, contribution, consequential,

   incidental, and general damages (including pre-judgment and post-judgment interest) to

   compensate Cyprus Amax for costs and damages it has incurred and will incur related to the

   hazardous substances and solid and hazardous wastes at the Collinsville Town Site; and (c) an

   award of attorneys’ fees, expert fees, and other fees Cyprus Amax has incurred and will incur

   in conjunction with response activities at the Collinsville Town Site and this action.

                                         COUNT I
                    COST RECOVERY PURSUANT TO CERCLA § 107, 42 U.S.C. § 9607
                           AS A FORMER OWNER AND/OR OPERATOR

                       89.   Cyprus Amax realleges and incorporates herein by reference, as if set forth

   in full, Paragraphs 1 through 88 above.

                       90.   Cyprus Amax, CBS Ops. and TCI are persons within the meaning of

   CERCLA section 101(21), 42 U.S.C. § 9601(21).

                       91.   The TFM Smelter Site and the Collinsville Town Site are both facilities

   within the meaning of CERCLA section 101(9), 42 U.S.C. § 9601(9).

                       92.   Hazardous substances within the meaning of CERCLA section 101(14),

   42 U.S.C. § 9601(14), including zinc, lead, cadmium and arsenic, were generated and released

   into the environment by TFMC/NJ Zinc at the TFM Smelter Site, and were further released

   into the environment by TFMC/NJ Zinc at the Collinsville Town Site.




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                    93.    These hazardous substances have contaminated the surface and subsurface

   soils, and have potentially contaminated sediment and surface water of the Collinsville Town

   Site, and the groundwater at the TFM Smelter Site.

                    94.    TFMC/NJ Zinc was an owner and/or operator of the TFM Smelter Site

   within the meaning of CERCLA section 101(20)(A), 42 U.S.C. § 9601(20)(A), at the time of

   disposal of hazardous substances from smelter operations at the TFM Smelter Site, as that term

   is defined in CERCLA section 101(29), 42 U.S.C. § 9601(29).

                    95.    Such disposal by TFMC/NJ Zinc constitutes a release or threatened release

   within the meaning of CERCLA section 101(22), 42 U.S.C. § 9601(22).

                    96.    Such releases by TFMC/NJ Zinc have contaminated the surface and

   subsurface soils, and have potentially contaminated the sediment and surface water of the

   Collinsville Town Site and the TFM Smelter Site, and the groundwater at the TFM Smelter

   Site.

                    97.    Accordingly, TFMC/NJ Zinc is liable under CERCLA section 107(a)(2),

   42 U.S.C. § 9607(a)(2).

                    98.    Cyprus Amax has incurred and will continue to incur response costs and

   damages from releases of hazardous substances from the smelter operations of TFMC/NJ Zinc.

                    99.    The costs incurred by Cyprus Amax in investigating, assessing and

   evaluating the release or threatened releases of such hazardous substances are necessary costs

   of response within the meaning of CERCLA sections 101(25) and 107(a)(4)(B), 42 U.S.C. §§

   9601(25) and 9607(a)(4)(B).

                    100.   The response costs incurred by Cyprus Amax have been and are consistent

   with the National Contingency Plan, codified at 40 C.F.R. Part 300.




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                    101.   During the time that hazardous substances were disposed of at the TFM

   Smelter Site and released into the environment, TFMC was dominated and controlled by, and

   operated as a mere instrumentality by and for the benefit of NJ Zinc, such that each entity is the

   “alter ego” of the other and the two corporations should be treated as a single legal entity. Also

   during this time, NJ Zinc directly managed, directed and conducted operations at the TFM

   Smelter Site. As such, NJ Zinc was an owner and/or operator of the TFM Smelter Site within

   the meaning of CERCLA section 101(20)(A), 42 U.S.C. § 9601(20)(A), at the time of disposal

   of hazardous substances from smelter operations at the TFM Smelter Site, as that term is

   defined by CERCLA section 101(29), 42 U.S.C. § 9601(29). Accordingly, NJ Zinc is liable

   under CERCLA section 107(a)(2), 42 U.S.C. § 9607(a)(2).

                    102.   Defendants are the successors to and/or the indemnitors of the successors

   to the liabilities of NJ Zinc, and as such are responsible for NJ Zinc’s liabilities as an owner

   and/or operator of the TFM Smelter Site during the time that hazardous substances were

   disposed from the TFM Smelter Site and released into the environment.

                    103.   Defendants are liable to Cyprus Amax, pursuant to CERCLA section

   107(a)(2), 42 U.S.C. § 9607(a)(2), for necessary costs of response and damages incurred by

   Cyprus Amax to date with respect to contamination at the Collinsville Town Site, as well as for

   additional response costs incurred by Cyprus Amax through the date of entry of judgment in

   this action.

                    104.   Defendants are liable to Cyprus Amax for interest on such costs of

   response incurred and to be incurred by Cyprus Amax in connection with contamination at the

   Collinsville Town Site, at the rate specified for interest on investments of the Hazardous

   Substance Superfund pursuant to CERCLA section 107(a), 42 U.S.C. § 9607(a).




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              WHEREFORE, Cyprus Amax respectfully requests that this Honorable Court (a) enter a

declaratory judgment pursuant to 28 U.S.C. § 2201 to resolve the actual case and controversy

between the parties by declaring all Defendants liable for response costs pursuant to CERCLA

(including, but not limited to, costs of investigation, monitoring, reporting, cleanup, removal,

remediation, attorneys’ fees, expert fees, and other fees related to response activities),

necessitated by and incurred because of the disposal by the corporate predecessors of Defendants

of arsenic, lead, cadmium, zinc and any other hazardous substances at the Collinsville Town

Site; (b) enter judgment against all of the Defendants awarding Cyprus Amax cost recovery

pursuant to CERCLA (including pre-judgment and post-judgment interest), to compensate

Cyprus Amax for response costs it has incurred and will incur because of the disposal by the

corporate predecessors of Defendants of the hazardous substances at the Collinsville Town Site;

and (c) afford Cyprus Amax all such other and further relief, at law or in equity, to which it may

be entitled.

                                         COUNT II
                    COST RECOVERY PURSUANT TO CERCLA § 107, 42 U.S.C. § 9607
                                     AS AN ARRANGER

                       105.   Cyprus Amax realleges and incorporates herein by reference, as if set forth

   in full, Paragraphs 1 through 104 above.

                       106.   CERCLA section 107(a)(3), 42 U.S.C. § 9607(a)(3), imposes liability on:

   “[a]ny person who by contract, agreement, or otherwise arranged for disposal or treatment, or

   arranged with a transporter for the transport for disposal or treatment, of hazardous substances

   owned or possessed by such person, by any other party or entity, at any facility... owned or

   operated by another party or entity and containing such hazardous substances.”




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                    107.   Hazardous substances within the meaning of CERCLA section 101(14),

   42 U.S.C. § 9601(14), including zinc, lead, cadmium and arsenic, were generated by TFMC at

   the TFM Smelter Site.

                    108.   On information and belief, TFMC/NJ Zinc arranged for the disposal of

   these hazardous substances by (a) operating the TFM Smelter in such a way as to emit

   hazardous substances into air which moved northward to and settled on the Collinsville Town

   Site due to prevailing winds out of the south and (b) arranging for the utilization of its smelter

   wastes by Collinsville residents for yard fill, gravel for construction purposes, including

   driveways and roads, and gardening material.

                    109.   Both the emissions of hazardous substances which settled on the

   Collinsville Town Site and the use of the smelter waste as yard fill and for construction

   purposes by the Collinsville residents constitute disposal as that term is defined by CERCLA

   section 101(29), 42 U.S.C. § 9601(29).

                    110.   TFMC was dominated and controlled by, and operated as a mere

   instrumentality by and for the benefit of NJ Zinc, such that each entity is the “alter ego” of the

   other and the two corporations should be treated as a single legal entity during the time that

   such arrangements for the disposal of hazardous substances were made. As such, NJ Zinc was

   an arranger liable under CERCLA section 107(a)(3), 42 U.S.C. § 9607(a)(3).

                    111.   Defendants are the successors to and/or the indemnitors of the successors

   to the liabilities of NJ Zinc, and as such are responsible for NJ Zinc’s liabilities as an arranger

   for the TFM Smelter Site during the time that arrangements were made for disposal of

   hazardous substances from the TFM Smelter Site.




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                    112.   Defendants are liable to Cyprus Amax, pursuant to CERCLA section

   107(a)(3), 42 U.S.C. § 9607(a)(3), for necessary costs of response and damages incurred by

   Cyprus Amax to date with respect to contamination at the Collinsville Town Site, as well as for

   additional response costs incurred by Cyprus Amax through the date of entry of judgment in

   this action.

                    113.   Defendants are liable to Cyprus Amax for interest on such costs of

   response incurred and to be incurred by Cyprus Amax in connection with contamination at the

   Collinsville Town Site, at the rate specified for interest on investments of the Hazardous

   Substance Superfund pursuant to CERCLA section 107(a), 42 U.S.C. § 9607(a).

              WHEREFORE, Cyprus Amax respectfully requests that this Honorable Court (a) enter a

declaratory judgment pursuant to 28 U.S.C. § 2201 to resolve the actual case and controversy

between the parties by declaring all Defendants liable for response costs pursuant to CERCLA

(including, but not limited to, costs of investigation, monitoring, reporting, cleanup, removal,

remediation, attorneys’ fees, expert fees, and other fees related to response activities),

necessitated by and incurred because of the disposal by the corporate predecessors of Defendants

of arsenic, lead, cadmium, zinc and any other hazardous substances at the Collinsville Town

Site; (b) enter judgment against all of the Defendants awarding Cyprus Amax cost recovery

(including pre-judgment and post-judgment interest) to compensate Cyprus Amax for response

costs it has paid or will pay (including, but not limited to, costs of investigation, monitoring,

reporting, cleanup, removal, remediation, attorneys’ fees, expert fees, and other fees related to

response activities) because of the disposal by corporate predecessors of Defendants of arsenic,

lead, cadmium, zinc and any other hazardous substances at the Collinsville Town Site; and (c)




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afford Cyprus Amax all such other and further relief, at law or in equity, to which it may be

entitled.

                                 COUNT III
          CONTRIBUTION PURSUANT TO CERCLA § 113(f)(1), 42 U.S.C. § 9613(f)(1),
                    AS A FORMER OWNER AND/OR OPERATOR

                    114.   Cyprus Amax realleges and incorporates herein by reference, as if set forth

   in full, Paragraphs 1 through 113 above.

                    115.   CERCLA section 113(f)(1), 42 U.S.C. § 9613(f)(1), provides that “[a]ny

   person may seek contribution from any other person who is liable or potentially liable under

   section 9607(a) of this title, during or following any civil action . . . under section 9607(a) of

   this title.”

                    116.   ODEQ initiated a civil action against Cyprus Amax pursuant to CERCLA

   section 107(a), 42 U.S.C. § 9607(a) in May 2009, seeking an order requiring Cyprus Amax to

   perform response actions at the Collinsville Town Site.

                    117.   As alleged in Count I, which is incorporated herein by reference,

   Defendants are liable to Cyprus Amax under CERCLA section 107(a)(2), 42 U.S.C. §

   9607(a)(2).

                    118.   Accordingly, Cyprus Amax is authorized to seek contribution from

   Defendants following the above-referenced civil action brought under CERCLA section

   107(a).

                    119.   Defendants are liable to Cyprus Amax, pursuant to CERCLA sections

   113(f)(1) and 107(a)(2), 42 U.S.C. §§ 9613(f)(1) and 9607(a)(2), for contribution, in

   accordance with an allocation to be determined at trial, of necessary costs of response and

   damages incurred by Cyprus Amax to date with respect to contamination at the Collinsville




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   Town Site, as well as for additional response costs incurred by Cyprus Amax through the date

   of entry of judgment in this action.

                    120.   Defendants are liable to Cyprus Amax for interest on such costs of

   response incurred and to be incurred by Cyprus Amax in connection with contamination at the

   Collinsville Town Site, at the rate specified for interest on investments of the Hazardous

   Substance Superfund pursuant to CERCLA section 107(a), 42 U.S.C. § 9607(a).

                    WHEREFORE, Cyprus Amax respectfully requests that this Honorable Court (a)

enter judgment against all of the Defendants awarding Cyprus Amax contribution (including pre-

judgment and post-judgment interest) to compensate Cyprus Amax for response costs it has

incurred and will incur (including, but not limited to, costs of investigation, monitoring,

reporting, cleanup, removal, remediation, attorneys’ fees, expert fees, and other fees related to

response activities) because of the disposal by corporate predecessors of Defendants of arsenic,

lead, cadmium, zinc and any other hazardous substances at the Collinsville Town Site; and (b)

afford Cyprus Amax all such other and further relief, at law or in equity, to which it may be

entitled.

                                  COUNT IV
          CONTRIBUTION PURSUANT TO CERCLA § 113(f)(1), 42 U.S.C. § 9613(f)(1),
                              AS AN ARRANGER

                    121.   Cyprus Amax realleges and incorporates herein by reference, as if set forth

   in full, Paragraphs 1 through 120 above.

                    122.   CERCLA section 113(f)(1), 42 U.S.C. § 9613(f)(1), provides that “[a]ny

   person may seek contribution from any other person who is liable or potentially liable under

   section 9607(a) of this title, during or following any civil action . . . under section 9607(a) of

   this title.”




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                    123.   ODEQ initiated a civil action against Cyprus Amax pursuant to CERCLA

   section 107(a), 42 U.S.C. § 9607(a) in May 2009, seeking an order requiring Cyprus Amax to

   perform response actions at the Collinsville Town Site.

                    124.   As alleged in Count II, which is incorporated herein by reference,

   Defendants are liable to Cyprus Amax under CERCLA section 107(a)(3), 42 U.S.C. §

   9607(a)(3).

                    125.   Accordingly, Cyprus Amax is authorized to seek contribution from

   Defendants following the above-referenced civil action brought under CERCLA section

   107(a).

                    126.   Defendants are liable to Cyprus Amax, pursuant to CERCLA sections

   113(f)(1) and 107(a)(3), 42 U.S.C. §§ 9613(f)(1) and 9607(a)(3), for contribution, in

   accordance with an allocation to be determined at trial, of necessary costs of response and

   damages incurred by Cyprus Amax to date with respect to contamination at the Collinsville

   Town Site, as well as for additional response costs incurred by Cyprus Amax through the date

   of entry of judgment in this action.

                    127.   Defendants are liable to Cyprus Amax for interest on such costs of

   response incurred and to be incurred by Cyprus Amax in connection with contamination at the

   Collinsville Town Site, at the rate specified for interest on investments of the Hazardous

   Substance Superfund pursuant to CERCLA section 107(a), 42 U.S.C. § 9607(a).

                    WHEREFORE, Cyprus Amax respectfully requests that this Honorable Court (a)

enter judgment against all of the Defendants awarding Cyprus Amax contribution (including pre-

judgment and post-judgment interest) to compensate Cyprus Amax for response costs it has

incurred and will incur (including, but not limited to, costs of investigation, monitoring,




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reporting, cleanup, removal, remediation, attorneys’ fees, expert fees, and other fees related to

response activities) because of the disposal by corporate predecessors of Defendants of arsenic,

lead, cadmium, zinc and any other hazardous substances at the Collinsville Town Site; and (b)

afford Cyprus Amax all such other and further relief, at law or in equity, to which it may be

entitled.

                              COUNT V
    CONTRIBUTION PURSUANT TO CERCLA § 113(f)(3)(B), 42 U.S.C. § 9613(f)(3)(B),
                 AS FORMER OWNER AND/OR OPERATOR

                    128.   Cyprus Amax realleges and incorporates herein by reference, as if set forth

   in full, Paragraphs 1 through 127 above.

                    129.   CERCLA section 113(f)(3)(B), 42 U.S.C. § 9613(f)(3)(B), provides that

   “[a] person who has resolved its liability to . . . a State for some or all of a response action or

   for some or all of the costs of such action in an administrative or judicially approved settlement

   may seek contribution from any person who is not party to [the] settlement [with the State].”

                    130.   As set forth herein, Cyprus Amax entered into a Consent Decree with

   ODEQ requiring Cyprus Amax to undertake response activities to address the arsenic, lead,

   cadmium and other hazardous substances disposed of by corporate predecessors of Defendants

   at the Collinsville Town Site.

                    131.   Pursuant to the terms of the above judicially-approved Consent Decree,

   Cyprus Amax resolved its CERCLA liability.

                    132.   None of the Defendants is a party to the Consent Decree.

                    133.   As alleged in Count I, which is incorporated herein by reference,

   Defendants are liable to Cyprus Amax under CERCLA section 107(a)(2), 42 U.S.C. §

   9607(a)(2).




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                    134.   Accordingly, Cyprus Amax is authorized to seek contribution from

   Defendants for the matters addressed in the above-referenced Consent Decree.

                    135.   Defendants are liable to Cyprus Amax, pursuant to CERCLA sections

   113(f)(3)(B) and 107(a), 42 U.S.C. §§ 9613(f)(3)(B) and 9607(a), for contribution, in

   accordance with an allocation to be determined at trial, of necessary costs of response and

   damages incurred by Cyprus Amax to date with respect to contamination at the Collinsville

   Town Site, as well as for additional response costs incurred by Cyprus Amax through the date

   of entry of judgment in this action.

                    136.   Defendants are liable to Cyprus Amax for interest on such response costs

   incurred and to be incurred by Cyprus Amax in connection with contamination at the

   Collinsville Town Site, at the rate specified for interest on investments of the Hazardous

   Substance Superfund, pursuant to CERCLA section 107(a), 42 U.S.C. § 9607(a).

              WHEREFORE, Cyprus Amax respectfully requests that this Honorable Court (a) enter

judgment against all of the Defendants awarding Cyprus Amax contribution (including pre-

judgment and post-judgment interest) to compensate Cyprus Amax for response costs it has

incurred and will incur (including, but not limited to, costs of investigation, monitoring,

reporting, cleanup, removal, remediation, attorneys’ fees, expert fees, and other fees related to

response activities) because of the disposal by corporate predecessors of Defendants of arsenic,

lead, cadmium, zinc and any other hazardous substances at the Collinsville Town Site; and (b)

afford Cyprus Amax all such other and further relief, at law or in equity, to which it may be

entitled.




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                              COUNT VI
    CONTRIBUTION PURSUANT TO CERCLA § 113(f)(3)(B), 42 U.S.C. § 9613(f)(3)(B),
                          AS AN ARRANGER

                    137.   Cyprus Amax realleges and incorporates herein by reference, as if set forth

   in full, Paragraphs 1 through 136 above.

                    138.   CERCLA section 113(f)(3)(B), 42 U.S.C. § 9613(f)(3)(B), provides that

   “[a] person who has resolved its liability to . . . a State for some or all of a response action or

   for some or all of the costs of such action in an administrative or judicially approved settlement

   may seek contribution from any person who is not party to [the] settlement [with the State].”

                    139.   As set forth herein, Cyprus Amax entered into a Consent Decree with

   ODEQ requiring Cyprus Amax to undertake response activities to address the arsenic, lead,

   cadmium and other hazardous substances disposed of by corporate predecessors of CBS at the

   Collinsville Town Site.

                    140.   Pursuant to the terms of the above judicially-approved Consent Decree,

   Cyprus Amax resolved its CERCLA liability.

                    141.   None of the Defendants is a party to the Consent Decree.

                    142.   As alleged in Count I, which is incorporated herein by reference,

   Defendants are liable to Cyprus Amax under CERCLA section 107(a)(2), 42 U.S.C. §

   9607(a)(3).

                    143.   Accordingly, Cyprus Amax is authorized to seek contribution from

   Defendants for the matters addressed in the above-referenced Consent Decree.

                    144.   Defendants are liable to Cyprus Amax, pursuant to CERCLA sections

   113(f)(3)(B) and 107(a), 42 U.S.C. §§ 9613(f)(3)(B) and 9607(a), for contribution, in

   accordance with an allocation to be determined at trial, of necessary costs of response and




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   damages incurred by Cyprus Amax to date with respect to contamination at the Collinsville

   Town Site, as well as for additional response costs incurred by Cyprus Amax through the date

   of entry of judgment in this action.

                       145.   Defendants are liable to Cyprus Amax for interest on such response costs

   incurred and to be incurred by Cyprus Amax in connection with contamination at the

   Collinsville Town Site, at the rate specified for interest on investments of the Hazardous

   Substance Superfund, pursuant to CERCLA section 107(a), 42 U.S.C. § 9607(a).

              WHEREFORE, Cyprus Amax respectfully requests that this Honorable Court (a) enter

judgment against all of the Defendants awarding Cyprus Amax contribution (including pre-

judgment and post-judgment interest) to compensate Cyprus Amax for response costs it has

incurred and will incur (including, but not limited to, costs of investigation, monitoring,

reporting, cleanup, removal, remediation, attorneys’ fees, expert fees, and other fees related to

response activities) because of the disposal by corporate predecessors of Defendants of arsenic,

lead, cadmium, zinc and any other hazardous substances at the Collinsville Town Site; and (b)

afford Cyprus Amax all such other and further relief, at law or in equity, to which it may be

entitled.

                                        COUNT VII
                    DECLARATORY JUDGMENT PURSUANT TO CERCLA § 113(g)(2),
                                    42 U.S.C. § 9613(g)(2)

                       146.   Cyprus Amax realleges and incorporates herein by reference, as if set forth

   in full, Paragraphs 1 through 145 above.




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                    147.   There exists an actual controversy between Cyprus Amax and Defendants

   as to their respective rights and duties concerning the investigation and remediation of the

   contamination at and around the Collinsville Town Site.

                    148.   Cyprus Amax seeks a declaratory judgment pursuant to CERCLA section

   113(g)(2), 42 U.S.C. § 9613(g)(2), as well as 28 U.S.C. § 2201, as to the rights and duties of

   the parties and, in particular, a determination of the liability of Defendants to bear or share the

   necessary costs of response and damages that will be incurred by Cyprus Amax with respect to

   remediation of the contamination at the Collinsville Town Site pursuant to CERCLA section

   113(g)(2)(B), 42 U.S.C. § 9613(g)(2)(B).

              WHEREFORE, Cyprus Amax respectfully requests that this Honorable Court (a) enter a

declaratory judgment pursuant to 28 U.S.C. § 2201 to resolve the actual case and controversy

between the parties by declaring all of the Defendants liable for response costs pursuant to

CERCLA (including, but not limited to, costs of investigation, monitoring, reporting, cleanup,

removal, remediation, attorneys’ fees, expert fees, and other fees related to response activities),

necessitated by and incurred because of the disposal by the corporate predecessors of Defendants

of arsenic, lead, cadmium, zinc and any other hazardous substances at the Collinsville Town

Site; and (b) afford Cyprus Amax all such other and further relief, at law or in equity, to which it

may be entitled.

                                           COUNT VIII
                                       UNJUST ENRICHMENT

                    149.   Cyprus Amax realleges and incorporates herein by reference, as if set forth

   in full, Paragraphs 1 through 148 above.

                    150.   Cyprus Amax has, by its expenditures in treating, remediating, and

   removing metals and other smelter waste materials in soils, sediments and surface water at the



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   Collinsville Town Site, incurred the cost of handling, treating, and/or disposing of metals and

   other smelter wastes, which Defendants by law and equity should bear.

                    151.   The past and future labor and expense incurred by Cyprus Amax to treat,

   remediate, and/or remove metals and other smelter waste materials in soils, sediments and

   surface water at the Collinsville Town Site as a result of the operations of the TFM Smelter has

   conferred and will continue to confer substantial economic benefits on Defendants.

                    152.   Defendants have knowingly retained these substantial economic benefits

   and have therefore, been unjustly enriched.

                    153.   No remedy at law can adequately compensate Cyprus Amax for the

   damages occasioned by the conscious choice on the part of Defendants to contaminate the

   Collinsville Town Site and allow the site to remain contaminated, by refusing to accept

   responsibility and incur expenses to properly investigate, treat, and/or dispose of metals and

   other smelter wastes at the Collinsville Town Site.

                    154.   Cyprus Amax is entitled to recovery from Defendants for the value of the

   benefits which have been and will continue to be conferred upon it by Cyprus Amax, the costs

   saved by Defendants by avoiding the responsibility to properly investigate, treat, and/or

   dispose of metals and other smelter wastes, and/or the disgorgement of all profits or returns

   that Defendants have derived from such wrongful conduct.

              WHEREFORE, Cyprus Amax respectfully requests that this Honorable Court (a) enter

judgment against all of the Defendants awarding Cyprus Amax consequential, incidental, and

general damages (including pre-judgment and post-judgment interest) and attorneys’ fees (as

 allowed by law); and (b) grant Cyprus Amax all such other and further relief, at law or in

equity, to which it may be entitled.




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                          Respectfully submitted,

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                          Counsel for Plaintiff
                          Cyprus Amax Minerals Company
Dated: January 18, 2013




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                                       CERTIFICATE OF SERVICE

              I hereby certify that on January 18, 2013, I electronically transmitted the attached

document to the Clerk of Court using the ECF System for filing to the following ECF registrants:

Mark D. Coldiron
Paula M. Jantzen
Seth D. Coldiron
Keith J. Klein
Paul D. Steinman
Wendy W. Feinstein

                                                    s/Reid E. Robison




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